
In re Louisiana Machinery Rentals, L.L.C.; — Defendant; Applying For Writ of Certiorari and/or Review, Parish of Livingston, 21st Judicial District Court Div. F, No. 130,695 C/W 130,691; to the Court of Appeal, First Circuit, No. 2011 CA 1235 C/W 2011 CA 1236.
Granted. The application is remanded to the court of appeal, which is instructed to consider the matter in light of this court’s recent opinions in Washington Parish Sheriffs Office v. Louisiana Machinery Company, LLC, 13-0583 (La.10/15/13), 126 So.3d 1273, and Catahoula Parish School Bd. v. Louisiana Machinery Company, LLC, 12-2504 (La.10/15/13), 124 So.3d 1065.
